
62 So.3d 1239 (2011)
Alvin WHITEHEAD, Appellant,
v.
STATE of Florida, Appellee.
No. 2D09-1064.
District Court of Appeal of Florida, Second District.
June 15, 2011.
James Marion Moorman, Public Defender, and William L. Sharwell, Assistant Public Defender, Bartow, for Appellant.
Pamela Jo Bondi, Attorney General, Tallahassee, and Ha Thu Dao, Assistant Attorney General, Tampa, for Appellee.
PER CURIAM.
Affirmed. See Pickles v. State, 976 So.2d 690, 693-94 (Fla. 4th DCA 2008); Youngblood v. State, 651 So.2d 227, 228 (Fla. 1st DCA 1995).
SILBERMAN, KELLY, and LaROSE, JJ., Concur.
